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6                              IN THE UNITED STATES DISTRICT COURT
7                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8     UNITED STATES OF AMERICA,                   )       Case №: 1:19-CR-00015-1-TLN
                                                  )
9                     Plaintiff,                  )                    ORDER
                                                  )               APPOINTING COUNSEL
10            vs.                                 )
                                                  )
11    ERIK QUIROZ-RAZO,                           )
                                                  )
12                    Defendant.                  )
                                                  )
13
             The above named Defendant has, under oath, sworn or affirmed as to his financial
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15    inability to employ counsel or has otherwise satisfied this Court that he is financially unable to

16    obtain counsel and wishes counsel be appointed to represent him. Therefore, in the interests of

17    justice and pursuant to the U.S. CONST., amend VI and 18 U.S.C. § 3006A,
18
             IT IS HEREBY ORDERED that Michael W. Berdinella be appointed to represent the
19
      above defendant in this case effective nunc pro tunc to June 12, 2024.
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             This appointment shall remain in effect until further order of this court, or until the
21
22    pending criminal matter and any direct appeal is resolved, whichever is first.

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      DATED: 6/13/2024
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25                                                    ____________________________
                                                      HON. SHEILA K. OBERTO
26                                                    United States Magistrate Judge

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